Case 1:20-cv-06861-JGK Document 67 Filed 11/09/20 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JIMMIE A. MCADAMS, ET AL.,
Plaintiffs, 20-cv-6861 (JGK)
- against - ORDER
EASTMAN KODAK COMPANY, ET AL.,

Defendants,

 

JOHN G. KOELTL, District Judge:

Counsel for Charles Satterwhite, et al., have moved to stay
this action or to align the timing of the briefing of the Lead
Plaintiff motions with the briefing of similar motions in the

related action, Tang v. Eastman Kodak, 20-cv-10462 (D.N.J.).

 

Counsel for the Lead Plaintiff-Movant John McMullen has simply
moved to align the briefing schedule with that in the Tang case,
Counsel for the plaintiffs, Jimmy and Judy McAdams, oppose a
stay, but do not object to aligning the briefing schedule with
the schedule in the Tang action.

The Court will align the briefing schedule for the Lead
Plaintiff motions in this case with that in the Tang case.
Therefore, the opposition briefs on the Lead Plaintiff motions
are due on November 2, 2020. The deadline for any reply briefs
is the same as for any similar deadlines in the Tang case.

The parties represent that the Tang case is the first-filed

case. The current case cannot be consolidated with the Tang

 

 
Case 1:20-cv-06861-JGK Document 67 Filed 11/09/20 Page 2 of 2

case, because they are pending in different districts, unless
one of the cases is transferred pursuant to 28 U.S.C. § 1407.
There is not yet any motion to transfer either of the cases to
the other district, or to dismiss or stay one of the cases in
favor of the other pending case, and any such motion is
traditionally decided by the court in the first-filed case.
Therefore, at this point, it is sufficient to assure that the
briefing schedule on the Lead Plaintiff motions in this case is
parallel to the briefing schedule in the Tang case.

The Clerk is directed to close Docket Nos. 41 and 45.

SO ORDERED.

Dated: New York, New York UA fo. Mf ths
October 26, 2020 [wit G f “a

 

 

/ John G. Rost
United States District Judge

 
